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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                    *         MDL No. 2179
“Deepwater Horizon” in the Gulf                    *
of Mexico on April 20, 2010                        *         SECTION: J
                                                   *
This Document Relates to:                          *         JUDGE BARBIER
Case No. 2:10-CV-02771                             *
                                                   *         MAGISTRATE SHUSHAN
                                                   *
*     *    *   *    *   *   *   *   *    *     *   *




                                    NOTICE OF SUBMISSION

TO:       Counsel

          PLEASE TAKE NOTICE that subject to Pre-trial Orders Nos. 11 and 25, in which the

Court directed that the Court will set the date of all hearings on Motions in this case, the Motion

of Defendant MOEX Offshore 2007 LLC to Dismiss Third Party Defendant Dril-Quip, Inc.’s

Cross-Claims pursuant to Fed. R. Civ. P. 12(b)(6) is tentatively noticed for submission on

Wednesday, August 17, 2011, at 9:30 a.m.

Dated: June 20, 2011

                                        Respectfully submitted,


                                             s/ John F. Pritchard__________________

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Pre-trial Order No. 12, I have caused the

foregoing to be served on all counsel via the Lexis Nexis File & Serve system, and that the

foregoing was electronically filed with the Clerk of Court of the United States District Court for

the Eastern District of Louisiana by using the CM/ECF system, who will send a notice of

electronic filing in accordance with the procedures established in MDL 2179, on June 20, 2011.



                                             s/ John F. Pritchard__________________




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